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Re:   Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)
      Plaintiff’s Letter to Court dated September 8, 2022




                                EXHIBIT 1
 [China AI Capital Limited v. DLA Piper LLP (US) et al., Case No. 1:21-cv-10911 (S.D.N.Y),
                                Dkt. 23, at 1 (Sept. 6, 2022)]
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                                                                            Rosanne E. Felicello*
                                                                                           Managing Partner
                                                                                   Rosanne@Felicellolaw.com
                                                                                     *Admitted in NY & MA




                                                             September 6, 2022

VIA ECF

The Honorable Victor Marrero
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

      Re:    China AI Capital Limited v. DLA Piper LLP (US) et al.,
             Case No. 1:21-cv-10911 (S.D.N.Y.)

Dear Judge Marrero:

      We represent Plaintiff China AI Capital Ltd. (“China AI”) in connection with
the above-referenced matter. We write to request that this action be voluntarily
dismissed without prejudice pursuant to Rules 41(a)(1)(A)(i) and 23.1(c).

      This action was brought derivatively by China AI on behalf of Link Motion Inc.
(“LKM”), which has been the subject of a receivership and preliminary injunction
entered in the case Baliga v. Link Motion Inc., 1:18-cv-11642-VM (S.D.N.Y.). On
August 25, 2022, the Court ordered the discharge of receiver and dissolution of the
preliminary injunction in the Baliga action.

       We have been advised that on September 1, 2022 the Board of Directors of
LKM held a meeting and decided to assume control over the claims asserted by China
AI in this action in light of the dissolution of the preliminary injunction in the Baliga
action. China AI consents to the assumption of control by LKM of the underlying
claims in this action and dismissal of this action without prejudice. Neither party in
this action has submitted an answer or motion for summary judgment, discovery has
not begun, and China AI has now filed a Notice of Voluntary Dismissal Without
Prejudice pursuant to Rule 41(a)(1)(A)(ii).

      Consequently, this case should be dismissed without prejudice, pursuant to
Rules 41(a)(1)(A)(i) and 23.1(c). See Yousef v. Tishman Constr. Corp., 744 F.3d 821,
826 (2d Cir. 2014) (finding that voluntary dismissal pursuant to Rule 41(a)(1)(A) must
be without prejudice regardless of fact that dismissal required consent of the Court
pursuant to another rule or statute) (citing In re PaineWebber Ltd. P’ships Litig., 147
F.3d 132, 137 (2d Cir. 1998); Creighton v. Taylor, No. B-90-151(WWE), 1990 U.S. Dist.
LEXIS 15597, at *5 (D. Conn. Oct. 22, 1990).



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The Hon. Victor Marrero, U.S.D.J.
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        China AI respectfully requests that, pursuant to Rule 23.1(c), the Court
approve the voluntary dismissal of this action without prejudice by “so-ordering” this
letter. Given that we expect LKM to assume prosecution of the underlying claim, the
notice to other shareholders contemplated by Rule 23.1(c) may be obviated so long as
LKM files the anticipated action.

                                                                       Sincerely,

                                                                       /s/ Rosanne E. Felicello

                                                                       Rosanne E. Felicello




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